       Case 1:23-cv-09304-DEH          Document 97        Filed 05/17/24     Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------                 x
                                                   :
UNITED STATES OF AMERICA,
                                                   :
               Plaintiff,
                                                   :
               - v. -
                                                   :
THE M/Y AMADEA, A MOTOR YACHT
BEARING INTERNATIONAL MARITIME                     :           23 Civ. 9304 (DEH)
ORGANIZATION NO. 1012531, INCLUDING
ALL FIXTURES, FITTINGS, MANUALS,                   :
STOCKS, STORES, INVENTORIES, AND
EACH LIFEBOAT, TENDER, AND OTHER                   :
APPURTENANCE THERETO,
                                                   :
               Defendant-In-Rem.
                                                   :
----------------------------------                 x

 NOTICE OF MOTION TO STRIKE THE CLAIM, OR FOR SUMMARY JUDGMENT,
                      FOR LACK OF STANDING

       PLEASE TAKE NOTICE that upon the Memorandum of Law in Support of the United

States of America’s Motion to Strike the Claim, or for Summary Judgment, for Lack of Standing,

the Declaration of Jennifer Jude, the Local Rule 56.1 Statement, and all prior pleadings and

proceedings herein, Plaintiff the United States of America, by its attorneys, Damian Williams,

United States Attorney for the Southern District of New York, Margaret A. Moeser, Acting

Chief of the Money Laundering and Asset Recovery Section, and Jennifer Kennedy Gellie,

Executive Deputy Chief of the Counterintelligence and Export Control Section, hereby moves to

strike the claim of claimants Eduard Khudainatov and Millemarin Investments Ltd.

(“Claimants”) pursuant to Rule G(8)(c)(i)(B) of the Supplemental Rules for Admiralty or

Maritime Claims and Asset Forfeiture Actions.
       Case 1:23-cv-09304-DEH          Document 97        Filed 05/17/24       Page 2 of 2




       Pursuant to Local Civil Rule 6.1(b), Claimants’ opposition to Plaintiff’s motion, if any, is

due no later than May 31, 2024.

Dated: New York, New York
       May 17, 2024


                                                     Respectfully Submitted,

                                                     DAMIAN WILLIAMS
                                                     United States Attorney
                                                     Southern District of New York

                                             By:      /s/ Jennifer Jude
                                                     JENNIFER JUDE
                                                     MICHAEL LOCKARD
                                                     Assistant United States Attorneys


                                                     MARGARET A. MOESER
                                                     Acting Chief
                                                     Money Laundering and Asset Recovery
                                                     Section, Criminal Division
                                                     U.S. Department of Justice

                                                     By: /s/ Joshua L. Sohn
                                                     JOSHUA L. SOHN
                                                     Trial Attorney
                                                     Money Laundering and Asset Recovery
                                                     Section


                                                     JENNIFER KENNEDY GELLIE
                                                     Executive Deputy Chief
                                                     Counterintelligence and Export Control
                                                     Section, National Security Division
                                                     U.S. Department of Justice

                                                     By: /s/ Yifei Zheng
                                                     YIFEI ZHENG
                                                     Trial Attorney
                                                     Counterintelligence and Export Control
                                                     Section (CES)
